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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div href="/vid/890251622" data-vids="890251622" class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header"&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;479 P.3d 910&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-party"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-name"&gt;The PEOPLE of the State of Colorado&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;v.&lt;/b&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Phillip L. ROSS&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;Supreme Court &lt;span class="ldml-cite"&gt;Case No. 19SC573&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;February 1, 2021&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="162" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="162" data-sentence-id="162" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Beth McCann&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;District Attorney&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Second Judicial District&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Johanna G. Coats&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-role"&gt;Deputy &lt;span class="ldml-entity"&gt;District Attorney&lt;/span&gt;&lt;/span&gt;, Denver, Colorado&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="306" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="306" data-sentence-id="306" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Mallika L. Magner&lt;/span&gt;&lt;/span&gt;, Crested Butte, Colorado&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="374" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="374" data-sentence-id="374" class="ldml-sentence"&gt;Attorneys for Amicus Curie Colorado Criminal Defense Bar: &lt;span class="ldml-lawfirm"&gt;Decker &amp; Jones&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Christopher R. Decker&lt;/span&gt;&lt;/span&gt;, Denver, Colorado&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;h2 class="ldml-opinionheading"&gt;&lt;span data-paragraph-id="487" class="ldml-paragraph "&gt;&lt;span class="ldml-judgepanel"&gt;&lt;span data-paragraph-id="487" data-sentence-id="487" class="ldml-sentence"&gt;En Banc&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/h2&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="494" class="ldml-paragraph "&gt;&lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (SAMOUR)"&gt;&lt;span data-paragraph-id="494" data-sentence-id="494" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;SAMOUR&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-pagenumber" data-val="912" data-vol="479" data-id="pagenumber_544" data-page_type="bracketed_cite" data-rep="P.3d"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="544" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="544" data-sentence-id="545" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_545"&gt;&lt;span class="ldml-cite"&gt;¶1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In this appeal, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; ask &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to determine whether the phrase &lt;span class="ldml-quotation quote"&gt;"for the purpose of"&lt;/span&gt; in two statutory provisions defining the crime of soliciting for child prostitution, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_545"&gt;&lt;span class="ldml-cite"&gt;§ 18-7-402&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2020&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(respectively &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_545"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;"&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_545"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;"&lt;/span&gt;)&lt;/span&gt;, describes a culpable mental state.&lt;/span&gt; &lt;span data-paragraph-id="544" data-sentence-id="846" class="ldml-sentence"&gt;A division of &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; said it does and then equated the phrase with the culpable mental state of intentionally or with intent.&lt;/span&gt; &lt;span data-paragraph-id="544" data-sentence-id="986" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; disagree and argue that the phrase &lt;span class="ldml-quotation quote"&gt;"for the purpose of"&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_986"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not describe a culpable mental state or mens rea, but instead qualifies the prohibited conduct or the actus reus—soliciting another or arranging &lt;span class="ldml-parenthetical"&gt;(or offering to arrange)&lt;/span&gt; a meeting—by specifying the reason for which such conduct must have been undertaken: for the purpose of prostitution of a child or by a child.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1397" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="1397" data-sentence-id="1397" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1397"&gt;&lt;span class="ldml-cite"&gt;¶2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; But &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; do not claim that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1397"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; impose strict liability, which would require no more than &lt;span class="ldml-quotation quote"&gt;"the performance by a person of ... a voluntary act or the omission to perform an act"&lt;/span&gt; the person &lt;span class="ldml-quotation quote"&gt;"is physically capable of performing."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="1397" data-sentence-id="1652" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1397"&gt;&lt;span class="ldml-cite"&gt;§ 18-1-502, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(defining &lt;span class="ldml-quotation quote"&gt;"strict liability"&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1397" data-sentence-id="1709" class="ldml-sentence"&gt;Instead, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; urge &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to rule that, while the two subsections are silent on a culpable mental state, the proscribed conduct necessarily involves the culpable mental state of knowingly or willfully.&lt;a href="#note-fr1" class="ldml-noteanchor" id="note-ref-fr1"&gt;1&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="1397" data-sentence-id="1907" class="ldml-sentence"&gt;For that reason, maintain &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; should impute the culpable mental state of knowingly to each subsection.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="2020" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="2020" data-sentence-id="2020" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2020"&gt;&lt;span class="ldml-cite"&gt;¶3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; do not have to address the merits of &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s position because, even if &lt;span class="ldml-entity"&gt;we&lt;/span&gt; were to agree with it, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; still could not prevail on their final contention, which is dispositive.&lt;/span&gt; &lt;span data-paragraph-id="2020" data-sentence-id="2212" class="ldml-sentence"&gt;According to &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[r]&lt;/span&gt;egardless of whether the mens rea ... is general knowledge or specific intent, that mental state does not apply to the age of the child."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="2020" data-sentence-id="2379" class="ldml-sentence"&gt;The age of the child, contend &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;, is an element governed by strict liability.&lt;/span&gt; &lt;span data-paragraph-id="2020" data-sentence-id="2465" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; would thus have &lt;span class="ldml-entity"&gt;us&lt;/span&gt; hold that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2465"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; require proof that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s purpose was prostitution and that the victim was a child—not proof that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s purpose was child prostitution.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="2683" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="2683" data-sentence-id="2683" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2683"&gt;&lt;span class="ldml-cite"&gt;¶4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Contrary to &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s assertion, however, the division correctly determined that neither the victim's age nor &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s knowledge of, or belief concerning, the victim's age is an element of soliciting for child prostitution.&lt;/span&gt; &lt;span data-paragraph-id="2683" data-sentence-id="2920" class="ldml-sentence"&gt;The pertinent element is that &lt;span class="ldml-quotation quote"&gt;"the purpose"&lt;/span&gt; of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s solicitation, meeting arrangement, or offer to arrange a meeting was &lt;span class="ldml-quotation quote"&gt;"prostitution of a child or by a child."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="2683" data-sentence-id="3093" class="ldml-sentence"&gt;And no part of that element is subject to strict liability.&lt;/span&gt; &lt;span data-paragraph-id="2683" data-sentence-id="3153" class="ldml-sentence"&gt;The requisite culpable mental state—whether with intent, as the division determined, or knowingly, as &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; suggest—applies to all the elements &lt;span class="ldml-parenthetical"&gt;(and every part of each element)&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3153"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, including that the purpose of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s conduct was the prostitution of or by a child.&lt;/span&gt; &lt;span data-paragraph-id="2683" data-sentence-id="3456" class="ldml-sentence"&gt;Therefore, simply proving that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s purpose was prostitution in general, not child prostitution specifically, cannot suffice—even if there is eventually prostitution of or by a child.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="3650" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="3650" data-sentence-id="3650" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3650"&gt;&lt;span class="ldml-cite"&gt;¶5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; And, like &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; and the division, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that, while &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3650"&gt;&lt;span class="ldml-cite"&gt;section 18-7-407&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2020&lt;/span&gt;)&lt;/span&gt;, precludes &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; from raising a defense based on either his lack of knowledge of the child's age or his reasonable belief that the child was an adult, it does not relieve &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; of their burden of proof under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3650"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="3650" data-sentence-id="3997" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_3997"&gt;&lt;span class="ldml-cite"&gt;section 18-7-407&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not give &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; a pass on their obligation to prove that, in soliciting another or arranging &lt;span class="ldml-parenthetical"&gt;(or offering to arrange)&lt;/span&gt; a meeting, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s purpose was &lt;i class="ldml-italics"&gt;child&lt;/i&gt; prostitution.&lt;span class="ldml-pagenumber" data-val="913" data-vol="479" data-id="pagenumber_4205" data-page_type="bracketed_cite" data-rep="P.3d"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4205" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="4205" data-sentence-id="4206" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4206"&gt;&lt;span class="ldml-cite"&gt;¶6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Because the division correctly approved &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s ruling&lt;/span&gt; under challenge, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm.&lt;/span&gt; &lt;span data-paragraph-id="4205" data-sentence-id="4302" class="ldml-sentence"&gt;However, because the division's reasoning differs at least in part from ours, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do so on other grounds.&lt;a href="#note-fr2" class="ldml-noteanchor" id="note-ref-fr2"&gt;2&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="I. Facts and Procedural History" data-id="heading_4407" data-parsed="true" data-value="I. Facts and Procedural History" data-confidences="very_high" data-ordinal_end="1" data-specifier="I" data-ordinal_start="1" data-types="background" data-format="upper_case_roman_numeral" id="heading_4407"&gt;&lt;span data-paragraph-id="4407" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="4407" data-sentence-id="4407" class="ldml-sentence"&gt;I.&lt;/span&gt; &lt;span data-paragraph-id="4407" data-sentence-id="4410" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="4438" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="4438" data-sentence-id="4438" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4438"&gt;&lt;span class="ldml-cite"&gt;¶7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;2015&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Phillip L. Ross&lt;/span&gt; visited a website showing advertisements posted by individuals willing to perform sexual acts in exchange for money.&lt;/span&gt; &lt;span data-paragraph-id="4438" data-sentence-id="4583" class="ldml-sentence"&gt;Two girls under the age of eighteen, C.W. and M.O., had placed some of those advertisements.&lt;/span&gt; &lt;span data-paragraph-id="4438" data-sentence-id="4676" class="ldml-sentence"&gt;While C.W. and M.O. listed varying ages in their advertisements, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; consistently indicated that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were at least nineteen years old and that any activities would be between two adults.&lt;/span&gt; &lt;span data-paragraph-id="4438" data-sentence-id="4865" class="ldml-sentence"&gt;Ross sent the girls sexually explicit text messages and negotiated the price &lt;span class="ldml-entity"&gt;he&lt;/span&gt; would pay in exchange for sexual acts.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4983" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="4983" data-sentence-id="4983" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4983"&gt;&lt;span class="ldml-cite"&gt;¶8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; During his communications with M.O., Ross specifically inquired about her age, and &lt;span class="ldml-entity"&gt;she&lt;/span&gt; replied that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was twenty years old.&lt;/span&gt; &lt;span data-paragraph-id="4983" data-sentence-id="5112" class="ldml-sentence"&gt;Though Ross did not ask C.W. her age, her photograph appeared in the advertisements.&lt;/span&gt; &lt;span data-paragraph-id="4983" data-sentence-id="5197" class="ldml-sentence"&gt;As a result, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was aware of her physical appearance.&lt;/span&gt; &lt;span data-paragraph-id="4983" data-sentence-id="5251" class="ldml-sentence"&gt;When &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was subsequently arrested, Ross admitted to texting the girls and agreeing to pay for sexual acts but maintained that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had not intended to solicit them for the purpose of &lt;i class="ldml-italics"&gt;child&lt;/i&gt; prostitution.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="5451" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="5451" data-sentence-id="5451" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5451"&gt;&lt;span class="ldml-cite"&gt;¶9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The People&lt;/span&gt; charged Ross with multiple offenses, including four counts of soliciting for child prostitution, a class 3 felony.&lt;/span&gt; &lt;span data-paragraph-id="5451" data-sentence-id="5580" class="ldml-sentence"&gt;Two counts pertained to each girl: one count pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5580"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and one count pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5580"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5451" data-sentence-id="5694" class="ldml-sentence"&gt;A person commits the crime of soliciting for child prostitution under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5694"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt;olicits another for the purpose of prostitution of a child or by a child,"&lt;/span&gt; and a person commits the same crime under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5694"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt;rranges or offers to arrange a meeting of persons for the purpose of prostitution of a child or by a child."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="6039" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="6039" data-sentence-id="6039" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6039"&gt;&lt;span class="ldml-cite"&gt;¶10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; During trial, at the end of &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s case, Ross moved for a judgment of acquittal on all four counts of soliciting for child prostitution.&lt;/span&gt; &lt;span data-paragraph-id="6039" data-sentence-id="6186" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt; argued that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; had failed to present any evidence that, in soliciting or arranging &lt;span class="ldml-parenthetical"&gt;(or offering to arrange)&lt;/span&gt; a meeting, his purpose was prostitution of a child or by a child.&lt;/span&gt; &lt;span data-paragraph-id="6039" data-sentence-id="6371" class="ldml-sentence"&gt;According to Ross, that could not have been his purpose because &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had no idea the girls were children.&lt;/span&gt; &lt;span data-paragraph-id="6039" data-sentence-id="6475" class="ldml-sentence"&gt;What's more, protested Ross, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; reasonably believed the girls were adults.&lt;/span&gt; &lt;span data-paragraph-id="6039" data-sentence-id="6550" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; countered that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6550"&gt;&lt;span class="ldml-cite"&gt;section 18-7-407&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; prevented Ross from raising a defense based on either his lack of knowledge of the girls' ages or his reasonable belief that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were at least eighteen years old.&lt;/span&gt; &lt;span data-paragraph-id="6039" data-sentence-id="6757" class="ldml-sentence"&gt;The age of each girl, maintained &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;, was a strict liability element.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="6833" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="6833" data-sentence-id="6833" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6833"&gt;&lt;span class="ldml-cite"&gt;¶11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; agreed with &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6833"&gt;&lt;span class="ldml-cite"&gt;section 18-7-407&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; precluded Ross from defending against the charges based on either his lack of knowledge of the girls' ages or his reasonable belief that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were adults.&lt;/span&gt; &lt;span data-paragraph-id="6833" data-sentence-id="7053" class="ldml-sentence"&gt;But it nevertheless sided with Ross's &lt;span class="ldml-entity"&gt;interpretation of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7053"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; as requiring &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; to prove that, in soliciting another or arranging &lt;span class="ldml-parenthetical"&gt;(or offering to arrange)&lt;/span&gt; a meeting, his purpose was prostitution of or by a &lt;i class="ldml-italics"&gt;child.&lt;/i&gt;&lt;/span&gt; &lt;span data-paragraph-id="6833" data-sentence-id="7290" class="ldml-sentence"&gt;And, because it was uncontested that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; had introduced no &lt;i class="ldml-italics"&gt;direct&lt;/i&gt; evidence that, in soliciting C.W. and M.O. or arranging &lt;span class="ldml-parenthetical"&gt;(or offering to arrange)&lt;/span&gt; a meeting with them, Ross's purpose was prostitution of or by a child, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; turned to the &lt;i class="ldml-italics"&gt;circumstantial&lt;/i&gt; evidence admitted to determine whether such purpose could be inferred.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="7624" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="7624" data-sentence-id="7624" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7624"&gt;&lt;span class="ldml-cite"&gt;¶12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The court&lt;/span&gt; focused on the circumstantial evidence related to whether Ross knew or should have known that the two girls were younger than eighteen years of age.&lt;/span&gt; &lt;span data-paragraph-id="7624" data-sentence-id="7787" class="ldml-sentence"&gt;As to C.W., &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; relied on her photograph in the advertisements to find that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; had introduced sufficient evidence that Ross's purpose in soliciting or arranging &lt;span class="ldml-parenthetical"&gt;(or offering to arrange)&lt;/span&gt; a meeting with her was prostitution of or by a child.&lt;/span&gt; &lt;span data-paragraph-id="7624" data-sentence-id="8041" class="ldml-sentence"&gt;It thus denied Ross's &lt;span class="ldml-entity"&gt;motion for a judgment of acquittal&lt;/span&gt; on the two counts of soliciting for child prostitution naming C.W.&lt;/span&gt; &lt;span data-paragraph-id="7624" data-sentence-id="8165" class="ldml-sentence"&gt;However, as to M.O., &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; reached the opposite conclusion because there was no photograph of her in the advertisements, and the only information available about her age indicated that &lt;span class="ldml-entity"&gt;she&lt;/span&gt; &lt;span class="ldml-pagenumber" data-val="914" data-vol="479" data-id="pagenumber_8358" data-page_type="bracketed_cite" data-rep="P.3d"&gt;&lt;/span&gt; was at least nineteen years old.&lt;/span&gt; &lt;span data-paragraph-id="7624" data-sentence-id="8392" class="ldml-sentence"&gt;Hence, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; ruled that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; had failed to present any evidence that, in soliciting M.O. or arranging &lt;span class="ldml-parenthetical"&gt;(or offering to arrange)&lt;/span&gt; a meeting with her, Ross's purpose was prostitution of or by a child.&lt;/span&gt; &lt;span data-paragraph-id="7624" data-sentence-id="8599" class="ldml-sentence"&gt;Consistent with that ruling, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; entered a judgment of acquittal on the counts of soliciting for child prostitution naming M.O.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="8732" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="8732" data-sentence-id="8732" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8732"&gt;&lt;span class="ldml-cite"&gt;¶13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; During deliberations, the jurors informed &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; that, while &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were at an impasse on the two counts of soliciting for child prostitution naming C.W., &lt;span class="ldml-entity"&gt;they&lt;/span&gt; could reach unanimous verdicts on the two lesser included misdemeanor offenses of soliciting another &lt;span class="ldml-parenthetical"&gt;(C.W.)&lt;/span&gt; for prostitution.&lt;a href="#note-fr3" class="ldml-noteanchor" id="note-ref-fr3"&gt;3&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="8732" data-sentence-id="9023" class="ldml-sentence"&gt;Rather than accept the verdicts on the lesser included offenses, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; granted &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;request to declare a mistrial&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8732" data-sentence-id="9150" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; then filed an original proceeding in our &lt;span class="ldml-entity"&gt;court&lt;/span&gt; pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="8732" data-sentence-id="9231" class="ldml-sentence"&gt;After &lt;span class="ldml-entity"&gt;we&lt;/span&gt; declined to exercise our original jurisdiction, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; and Ross entered into a plea disposition that allowed him to plead guilty to the two misdemeanor counts of soliciting another &lt;span class="ldml-parenthetical"&gt;(C.W.)&lt;/span&gt; for prostitution.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="9449" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="9449" data-sentence-id="9449" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9449"&gt;&lt;span class="ldml-cite"&gt;¶14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Relying on the &lt;span class="ldml-quotation quote"&gt;"question of law"&lt;/span&gt; provision in subsection &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;16-12-102&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; appealed to &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="9449" data-sentence-id="9584" class="ldml-sentence"&gt;As pertinent here, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; argued that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9584"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; are silent on a culpable mental state and that the proscribed conduct warrants imputing the culpable mental state of knowingly.&lt;/span&gt; &lt;span data-paragraph-id="9449" data-sentence-id="9772" class="ldml-sentence"&gt;Though &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; acknowledged that &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; had instructed the jury by including the culpable mental state of knowingly as an element of the crime of soliciting for child prostitution,&lt;a href="#note-fr4" class="ldml-noteanchor" id="note-ref-fr4"&gt;4&lt;/a&gt; &lt;span class="ldml-entity"&gt;they&lt;/span&gt; contended that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; had erred in partially granting Ross's &lt;span class="ldml-entity"&gt;motion for a judgment of acquittal&lt;/span&gt; based on the lack of evidence that his purpose in soliciting M.O. or arranging &lt;span class="ldml-parenthetical"&gt;(or offering to arrange)&lt;/span&gt; a meeting with her was &lt;i class="ldml-italics"&gt;child&lt;/i&gt; prostitution.&lt;/span&gt; &lt;span data-paragraph-id="9449" data-sentence-id="10216" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; submitted that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were only required to prove that Ross's purpose was prostitution and that M.O. turned out to be a child.&lt;/span&gt; &lt;span data-paragraph-id="9449" data-sentence-id="10352" class="ldml-sentence"&gt;In other words, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; viewed &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10352"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; as imposing strict liability on part of the purpose element.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="10470" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="10470" data-sentence-id="10470" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10470"&gt;&lt;span class="ldml-cite"&gt;¶15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In a published opinion, the division unanimously approved the ruling dismissing the soliciting for child prostitution counts naming M.O.&lt;/span&gt; &lt;span data-paragraph-id="10470" data-sentence-id="10611" class="ldml-sentence"&gt;Contrary to &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s contention, the division determined that &lt;span class="ldml-quotation quote"&gt;"for the purpose of"&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10611"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"is the equivalent of"&lt;/span&gt; the culpable mental state of &lt;span class="ldml-quotation quote"&gt;"with intent."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10470" data-sentence-id="10792" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10611" data-refglobal="case:peoplevross,2019coa79"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Ross&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2019 COA 79&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10611"&gt;&lt;span class="ldml-cite"&gt;¶ 30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886390506" data-vids="886390506" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;482 P.3d 452&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="10840" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="10840" data-sentence-id="10840" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10840"&gt;&lt;span class="ldml-cite"&gt;¶16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Further, like &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;, the division rejected &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s assertion that the victim's status as a child is an element of soliciting for child prostitution.&lt;/span&gt; &lt;span data-paragraph-id="10840" data-sentence-id="11008" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10840"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10840" data-sentence-id="11020" class="ldml-sentence"&gt;Rather, explained the division, what &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11020"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; require &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; to prove is that, in soliciting another or arranging &lt;span class="ldml-parenthetical"&gt;(or offering to arrange)&lt;/span&gt; a meeting, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s intent was child prostitution.&lt;/span&gt; &lt;span data-paragraph-id="10840" data-sentence-id="11236" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11020"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10840" data-sentence-id="11240" class="ldml-sentence"&gt;So long as &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; prove that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; had the requisite intent, continued the division, &lt;span class="ldml-quotation quote"&gt;"it does not matter whether the &lt;span class="ldml-quotation quote"&gt;‘other’&lt;/span&gt; whom &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; solicit&lt;span class="ldml-parenthetical"&gt;[ed]&lt;/span&gt;"&lt;/span&gt; was &lt;span class="ldml-quotation quote"&gt;"actually a child"&lt;/span&gt; or &lt;span class="ldml-quotation quote"&gt;"actually an adult."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10840" data-sentence-id="11456" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11240"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="10840" data-sentence-id="11460" class="ldml-sentence"&gt;Therefore, held the division, while &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11460"&gt;&lt;span class="ldml-cite"&gt;section 18-7-407&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; prevents &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; from raising a defense based on either his lack of knowledge of the victim's age or his reasonable belief that the victim was an adult, it does not dispense with &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s burden under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11460"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to prove that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s intent in soliciting another or arranging &lt;span class="ldml-parenthetical"&gt;(or offering to arrange)&lt;/span&gt; a meeting was child prostitution.&lt;/span&gt; &lt;span data-paragraph-id="10840" data-sentence-id="11877" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11460"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10840" data-sentence-id="11890" class="ldml-sentence"&gt;And, because &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; had presented no evidence that Ross's intent in soliciting M.O. or arranging &lt;span class="ldml-parenthetical"&gt;(or offering to arrange)&lt;/span&gt; a meeting with her was child prostitution, the division approved &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s ruling&lt;/span&gt; granting in part Ross's &lt;span class="ldml-entity"&gt;motion for a judgment of acquittal&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="10840" data-sentence-id="12166" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12166"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;span class="ldml-pagenumber" data-val="915" data-vol="479" data-id="pagenumber_12169" data-page_type="bracketed_cite" data-rep="P.3d"&gt;&lt;/span&gt; &lt;span class="ldml-cite"&gt;¶17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The People&lt;/span&gt; asked our &lt;span class="ldml-entity"&gt;court&lt;/span&gt; to review the division's opinion.&lt;/span&gt; &lt;span data-paragraph-id="10840" data-sentence-id="12235" class="ldml-sentence"&gt;And &lt;span class="ldml-entity"&gt;we&lt;/span&gt; agreed to do so.&lt;a href="#note-fr5" class="ldml-noteanchor" id="note-ref-fr5"&gt;5&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="II. Analysis" data-id="heading_12259" data-parsed="true" data-value="II. Analysis" data-confidences="very_high" data-ordinal_end="2" data-specifier="II" data-ordinal_start="2" data-types="analysis" data-format="upper_case_roman_numeral" id="heading_12259"&gt;&lt;span data-paragraph-id="12259" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="12259" data-sentence-id="12259" class="ldml-sentence"&gt;II.&lt;/span&gt; &lt;span data-paragraph-id="12259" data-sentence-id="12263" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="12271" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="12271" data-sentence-id="12271" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12271"&gt;&lt;span class="ldml-cite"&gt;¶18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; begin by discussing the standard of review controlling this appeal and the relevant principles of statutory interpretation.&lt;/span&gt; &lt;span data-paragraph-id="12271" data-sentence-id="12402" class="ldml-sentence"&gt;Then, adhering to that authority, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reach two conclusions.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="12461" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="12461" data-sentence-id="12462" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12462"&gt;&lt;span class="ldml-cite"&gt;¶19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; First, the requisite culpable mental state—whether with intent, as the division determined, or knowingly, as &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; submit—applies to all the elements &lt;span class="ldml-parenthetical"&gt;(and every part of each element)&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12462"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, including that the purpose of &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s conduct was the prostitution of or by a child.&lt;/span&gt; &lt;span data-paragraph-id="12461" data-sentence-id="12775" class="ldml-sentence"&gt;In other words, no part of the purpose element is subject to strict liability.&lt;/span&gt; &lt;span data-paragraph-id="12461" data-sentence-id="12854" class="ldml-sentence"&gt;Thus, simply proving that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s purpose was prostitution in general, not child prostitution specifically, cannot suffice—even if there is eventually prostitution of or by a child.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="13043" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13043" data-sentence-id="13044" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13044"&gt;&lt;span class="ldml-cite"&gt;¶20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Second, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13044"&gt;&lt;span class="ldml-cite"&gt;section 18-7-407&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not relieve &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; of their obligation under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13044"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to prove that, in soliciting another or arranging &lt;span class="ldml-parenthetical"&gt;(or offering to arrange)&lt;/span&gt; a meeting, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s purpose was prostitution of or by a child.&lt;/span&gt; &lt;span data-paragraph-id="13043" data-sentence-id="13296" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; cannot wield &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13296"&gt;&lt;span class="ldml-cite"&gt;section 18-7-407&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; as a crutch here to dodge their burden of proving that Ross solicited M.O. or arranged &lt;span class="ldml-parenthetical"&gt;(or offered to arrange)&lt;/span&gt; a meeting with her for the purpose of prostitution of or by a child.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="13527" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="13527" data-sentence-id="13527" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13527"&gt;&lt;span class="ldml-cite"&gt;¶21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Because &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; failed to present any evidence that, in soliciting M.O. or arranging &lt;span class="ldml-parenthetical"&gt;(or offering to arrange)&lt;/span&gt; a meeting with her, Ross's purpose was prostitution of or by a child, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; correctly dismissed the two counts of soliciting for child prostitution naming her.&lt;/span&gt; &lt;span data-paragraph-id="13527" data-sentence-id="13814" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; thus affirm the division's approval of that ruling, albeit on different grounds.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-content-heading-label="A. Standard of Review and Relevant Principles of Statutory Interpretation" data-id="heading_13897" data-parsed="true" data-value="A. Standard of Review and Relevant Principles of Statutory Interpretation" data-ordinal_end="1" data-specifier="A" data-ordinal_start="1" data-format="upper_case_letters" id="heading_13897"&gt;&lt;span data-paragraph-id="13897" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="13897" data-sentence-id="13897" class="ldml-sentence"&gt;A.&lt;/span&gt; &lt;span data-paragraph-id="13897" data-sentence-id="13900" class="ldml-sentence"&gt;Standard of Review and Relevant Principles of Statutory Interpretation&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="13970" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="13970" data-sentence-id="13971" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13971"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The questions &lt;span class="ldml-entity"&gt;we&lt;/span&gt; confront today involve statutory interpretation.&lt;/span&gt; &lt;span data-paragraph-id="13970" data-sentence-id="14041" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; review issues of statutory interpretation de novo.&lt;/span&gt; &lt;span data-paragraph-id="13970" data-sentence-id="14095" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890504259" data-vids="890504259" class="ldml-reference" data-prop-ids="sentence_14041"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Thompson v. People&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2020 CO 72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14041"&gt;&lt;span class="ldml-cite"&gt;¶ 22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890504259" data-vids="890504259" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;471 P.3d 1045, 1051&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="14153" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14153" data-sentence-id="14154" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14154"&gt;&lt;span class="ldml-cite"&gt;¶23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In construing &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt;, our primary goal is to ascertain and give effect to &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;'s intent.&lt;/span&gt; &lt;span data-paragraph-id="14153" data-sentence-id="14261" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14154"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14153" data-sentence-id="14265" class="ldml-sentence"&gt;To do so, our first step is always to look to the language of &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="14153" data-sentence-id="14340" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14265"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14153" data-sentence-id="14344" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; must give each word and phrase its plain and ordinary meaning.&lt;/span&gt; &lt;span data-paragraph-id="14153" data-sentence-id="14410" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14344"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14153" data-sentence-id="14414" class="ldml-sentence"&gt;And &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must be mindful to &lt;span class="ldml-quotation quote"&gt;"adopt a construction that avoids or resolves potential conflicts"&lt;/span&gt; with other &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt; and gives &lt;span class="ldml-quotation quote"&gt;"effect to all legislative acts, if possible."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14153" data-sentence-id="14584" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886628317" data-vids="886628317" class="ldml-reference" data-prop-ids="sentence_14414"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Mook v. Bd. of Cnty. Comm'rs&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2020 CO 12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14414"&gt;&lt;span class="ldml-cite"&gt;¶ 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886628317" data-vids="886628317" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;457 P.3d 568, 575&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887091528" data-vids="887091528" class="ldml-reference"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Stellabotte&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;2018 CO 66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;¶ 32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887091528" data-vids="887091528" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;421 P.3d 174, 180&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-content-heading-label="B. Application" data-id="heading_14720" data-parsed="true" data-value="B. Application" data-ordinal_end="2" data-specifier="B" data-ordinal_start="2" data-format="upper_case_letters" id="heading_14720"&gt;&lt;span data-paragraph-id="14720" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="14720" data-sentence-id="14720" class="ldml-sentence"&gt;B.&lt;/span&gt; &lt;span data-paragraph-id="14720" data-sentence-id="14723" class="ldml-sentence"&gt;Application&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="14734" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="14734" data-sentence-id="14734" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14734"&gt;&lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Neither &lt;span class="ldml-entity"&gt;party&lt;/span&gt; asserts that soliciting for child prostitution, as set forth in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14734"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, is a strict liability offense—nor would such an assertion hold water.&lt;/span&gt; &lt;span data-paragraph-id="14734" data-sentence-id="14911" class="ldml-sentence"&gt;And neither &lt;span class="ldml-entity"&gt;party&lt;/span&gt; asks &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to consider the culpable mental states of &lt;span class="ldml-quotation quote"&gt;"recklessly"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"criminal negligence"&lt;/span&gt;—nor are &lt;span class="ldml-entity"&gt;we&lt;/span&gt; aware of any basis to do so.&lt;/span&gt; &lt;span data-paragraph-id="14734" data-sentence-id="15058" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; disagree, though, on whether the applicable culpable mental state is with intent or knowingly.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="15164" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="15164" data-sentence-id="15164" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15164"&gt;&lt;span class="ldml-cite"&gt;¶25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The division equated the phrase &lt;span class="ldml-quotation quote"&gt;"for the purpose of"&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15164"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; with the culpable mental state of with intent.&lt;/span&gt; &lt;span data-paragraph-id="15164" data-sentence-id="15295" class="ldml-sentence"&gt;Ross agrees with that approach.&lt;/span&gt; &lt;span data-paragraph-id="15164" data-sentence-id="15327" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; argue that &lt;span class="ldml-quotation quote"&gt;"for the purpose of"&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15327"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; relates to the prohibited conduct or the actus reus, not any culpable mental state or mens rea.&lt;/span&gt; &lt;span data-paragraph-id="15164" data-sentence-id="15497" class="ldml-sentence"&gt;As such, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; believe that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15497"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; do not expressly set forth a culpable mental state.&lt;/span&gt; &lt;span data-paragraph-id="15164" data-sentence-id="15606" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt; urge &lt;span class="ldml-entity"&gt;us&lt;/span&gt; to impute the culpable mental state of knowingly to both subsections pursuant to &lt;span class="ldml-pagenumber" data-val="916" data-vol="479" data-id="pagenumber_15706" data-page_type="bracketed_cite" data-rep="P.3d"&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15606"&gt;&lt;span class="ldml-cite"&gt;section 18-1-503&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2020&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15164" data-sentence-id="15740" class="ldml-sentence"&gt;Under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15740"&gt;&lt;span class="ldml-cite"&gt;section 18-1-503&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, even if no culpable mental state is expressly designated in &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt; defining an offense, &lt;span class="ldml-quotation quote"&gt;"a culpable mental state may nevertheless be required for the commission of that offense, or with respect to some or all of the material elements thereof, if the proscribed conduct necessarily involves such a culpable mental state."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="15164" data-sentence-id="16088" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15740"&gt;&lt;span class="ldml-cite"&gt;§ 18-1-503&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="16102" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="16102" data-sentence-id="16102" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16102"&gt;&lt;span class="ldml-cite"&gt;¶26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; leave this dispute for another day because its resolution does not affect the outcome of &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s appeal.&lt;/span&gt; &lt;span data-paragraph-id="16102" data-sentence-id="16219" class="ldml-sentence"&gt;Even if, as &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; claim, &lt;span class="ldml-quotation quote"&gt;"for the purpose of"&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16219"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; relates to the prohibited conduct, not the culpable mental state, and the applicable culpable mental state is knowingly, not with intent, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; still cannot prevail here.&lt;/span&gt; &lt;span data-paragraph-id="16102" data-sentence-id="16473" class="ldml-sentence"&gt;Regardless of which of the two culpable mental states applies, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; are mistaken in their belief that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16473"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; require proof that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s purpose was prostitution and that the victim was a child—not proof that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s purpose was child prostitution.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-content-heading-label="1. No Part of the Purpose Element in Subsections (a) and (b) Is Governed by Strict Liability" data-id="heading_16759" data-parsed="true" data-value="1. No Part of the Purpose Element in Subsections (a) and (b) Is Governed by Strict Liability" data-ordinal_end="1" data-specifier="1" data-ordinal_start="1" data-format="number" id="heading_16759"&gt;&lt;span data-paragraph-id="16759" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="16759" data-sentence-id="16759" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-paragraph-id="16759" data-sentence-id="16762" class="ldml-sentence"&gt;No Part of the Purpose Element in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16762"&gt;&lt;span class="ldml-cite"&gt;Subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Is Governed by Strict Liability&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="16851" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="16851" data-sentence-id="16851" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16851"&gt;&lt;span class="ldml-cite"&gt;¶27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; When &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt; defining an offense specifies a culpable mental state, that culpable mental state &lt;span class="ldml-quotation quote"&gt;"is deemed to apply to every element of the offense unless an intent to limit its application clearly appears."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="16851" data-sentence-id="17064" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16851"&gt;&lt;span class="ldml-cite"&gt;§ 18-1-503&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="16851" data-sentence-id="17079" class="ldml-sentence"&gt;To the extent that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17079"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; specify a culpable mental state, no &lt;span class="ldml-entity"&gt;legislative intent&lt;/span&gt; appears in those subsections to restrict application of the applicable culpable mental state to any element or elements.&lt;/span&gt; &lt;span data-paragraph-id="16851" data-sentence-id="17298" class="ldml-sentence"&gt;And, to the extent that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17298"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; do not specify a culpable mental state but a culpable mental state must nevertheless be imputed to some or all of the elements in those subsections, there is no basis for exempting any part of the purpose element from application of such culpable mental state.&lt;/span&gt; &lt;span data-paragraph-id="16851" data-sentence-id="17607" class="ldml-sentence"&gt;Hence, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; perceive no sound reason to conclude that any part of the purpose element in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17607"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is subject to strict liability.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="17749" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="17749" data-sentence-id="17749" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17749"&gt;&lt;span class="ldml-cite"&gt;¶28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Still, &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; claim that the plain language of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17749"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; supports their position that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; didn't have to prove that Ross's purpose in soliciting M.O. or arranging &lt;span class="ldml-parenthetical"&gt;(or offering to arrange)&lt;/span&gt; a meeting with her was child prostitution.&lt;/span&gt; &lt;span data-paragraph-id="17749" data-sentence-id="18003" class="ldml-sentence"&gt;Instead, assert &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;, the plain language of the two subsections demonstrates that it was sufficient to prove that Ross's purpose was prostitution and that M.O. turned out to be a child.&lt;/span&gt; &lt;span data-paragraph-id="17749" data-sentence-id="18195" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="18207" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="18207" data-sentence-id="18207" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18207"&gt;&lt;span class="ldml-cite"&gt;¶29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The subsections specifically refer to soliciting another or arranging &lt;span class="ldml-parenthetical"&gt;(or offering to arrange)&lt;/span&gt; a meeting &lt;span class="ldml-quotation quote"&gt;"for the purpose of prostitution &lt;i class="ldml-italics"&gt;of a child or by a child."&lt;/i&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="18207" data-sentence-id="18376" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18207"&gt;&lt;span class="ldml-cite"&gt;§ 18-7-402&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18207" data-sentence-id="18416" class="ldml-sentence"&gt;Contrary to &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s contention, there is no persuasive basis for divorcing the phrase &lt;span class="ldml-quotation quote"&gt;"of a child or by a child"&lt;/span&gt; from the phrase &lt;span class="ldml-quotation quote"&gt;"for the purpose of prostitution."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="18207" data-sentence-id="18585" class="ldml-sentence"&gt;Consequently, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; decline &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s invitation to treat, on the one hand, the phrase &lt;span class="ldml-quotation quote"&gt;"for the purpose of prostitution"&lt;/span&gt; as an adverbial phrase modifying the verbs &lt;span class="ldml-quotation quote"&gt;"solicits,"&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"arranges,"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"offers,"&lt;/span&gt; and, on the other, the phrase &lt;span class="ldml-quotation quote"&gt;"of a child or by a child"&lt;/span&gt; as an adjectival phrase modifying the noun &lt;span class="ldml-quotation quote"&gt;"prostitution."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="18207" data-sentence-id="18903" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; believe that it is more faithful to &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt;'s intent to read the pertinent language in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18903"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; as a single adverbial phrase: &lt;span class="ldml-quotation quote"&gt;"for the purpose of prostitution of a child or by a child."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="19114" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="19114" data-sentence-id="19114" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19114"&gt;&lt;span class="ldml-cite"&gt;¶30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The People&lt;/span&gt; maintain, however, that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19114"&gt;&lt;span class="ldml-cite"&gt;section 18-7-407&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; corroborates their &lt;span class="ldml-entity"&gt;interpretation of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19114"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="19114" data-sentence-id="19232" class="ldml-sentence"&gt;For the reasons &lt;span class="ldml-entity"&gt;we&lt;/span&gt; articulate next, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; beg to differ.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-content-heading-label="2. Section 18-7-407 Does Not Alter the People's Burden Under Subsections (a) and (b)" data-id="heading_19285" data-parsed="true" data-value="2. Section 18-7-407 Does Not Alter the People's Burden Under Subsections (a) and (b)" data-ordinal_end="2" data-specifier="2" data-ordinal_start="2" data-format="number" id="heading_19285"&gt;&lt;span data-paragraph-id="19285" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="19285" data-sentence-id="19285" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-paragraph-id="19285" data-sentence-id="19288" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19288"&gt;&lt;span class="ldml-cite"&gt;Section 18-7-407&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Does Not Alter &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s Burden Under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19288"&gt;&lt;span class="ldml-cite"&gt;Subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="19369" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="19369" data-sentence-id="19369" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19369"&gt;&lt;span class="ldml-cite"&gt;¶31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19369"&gt;&lt;span class="ldml-cite"&gt;Section 18-7-407&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides that in any &lt;span class="ldml-entity"&gt;prosecution&lt;/span&gt; brought pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19369"&gt;&lt;span class="ldml-cite"&gt;sections 18-7-402&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to - 407, &lt;span class="ldml-quotation quote"&gt;"it shall be no defense that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; did not know the child's age or that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; reasonably believed the child to be eighteen years of age or older."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="19369" data-sentence-id="19623" class="ldml-sentence"&gt;According to &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;, this provision creates strict liability as to the element in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19623"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; related to the victim's age.&lt;/span&gt; &lt;span data-paragraph-id="19369" data-sentence-id="19762" class="ldml-sentence"&gt;This is a strawman argument, however, because neither subsection includes an element regarding the victim's age.&lt;/span&gt; &lt;span data-paragraph-id="19369" data-sentence-id="19875" class="ldml-sentence"&gt;Rather, the pertinent element is that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s solicitation, meeting arrangement, or offer to arrange a &lt;span class="ldml-pagenumber" data-val="917" data-vol="479" data-id="pagenumber_19986" data-page_type="bracketed_cite" data-rep="P.3d"&gt;&lt;/span&gt; meeting was &lt;span class="ldml-quotation quote"&gt;"for the purpose of prostitution of a child or by a child."&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="20058" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="20058" data-sentence-id="20059" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20059"&gt;&lt;span class="ldml-cite"&gt;¶32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The focus of the crime of soliciting for child prostitution is the solicitation, meeting arrangement, or offer to arrange a meeting, accompanied by the purpose behind such conduct, not the ultimate sexual act, which may or may not occur and, if it occurs, may or may not involve a child.&lt;/span&gt; &lt;span data-paragraph-id="20058" data-sentence-id="20351" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894549666" data-vids="894549666" class="ldml-reference" data-prop-ids="sentence_20059"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Emerterio&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;819 P.2d 516, 518&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;i class="ldml-italics"&gt;&lt;span class="ldml-cert"&gt;rev'd on other grounds sub nom.&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893339409" data-vids="893339409" class="ldml-reference" data-prop-ids="sentence_20059"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. San Emerterio&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;839 P.2d 1161&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1992&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20058" data-sentence-id="20500" class="ldml-sentence"&gt;The crime is completed the moment &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; solicits another or arranges &lt;span class="ldml-parenthetical"&gt;(or offers to arrange)&lt;/span&gt; a meeting for the requisite purpose.&lt;/span&gt; &lt;span data-paragraph-id="20058" data-sentence-id="20637" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;Cf.&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891344414" data-vids="891344414" class="ldml-reference" data-prop-ids="embeddedsentence_20688,sentence_20500"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;People v. Mason&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;642 P.2d 8, 13&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1982&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;indicating that soliciting for prostitution &lt;span class="ldml-quotation quote"&gt;"is complete when the offender solicits another for prostitution, &lt;span class="ldml-parenthetical"&gt;[or]&lt;/span&gt; arranges or offers to arrange a meeting of persons for the purpose of prostitution"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="20888" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="20888" data-sentence-id="20889" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20889"&gt;&lt;span class="ldml-cite"&gt;¶33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Thus, if &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; solicits another for the purpose of prostitution of a child, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; violates &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20889"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20888" data-sentence-id="21014" class="ldml-sentence"&gt;It doesn't matter whether anyone is ultimately prostituted and, if so, whether that person turns out to be a child.&lt;/span&gt; &lt;span data-paragraph-id="20888" data-sentence-id="21130" class="ldml-sentence"&gt;By the same token, if &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; solicits another for the purpose of prostitution of an adult, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; does not violate &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21130"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20888" data-sentence-id="21273" class="ldml-sentence"&gt;That's true regardless of whether anyone is ultimately prostituted and, if so, whether that person turns out to be a child.&lt;/span&gt; &lt;span data-paragraph-id="20888" data-sentence-id="21397" class="ldml-sentence"&gt;Of course, proof that a child was, in fact, ultimately prostituted and that &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt; knew or should have known &lt;span class="ldml-entity"&gt;she&lt;/span&gt; was a child may well be circumstantial evidence related to the purpose of the solicitation.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="21608" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="21608" data-sentence-id="21609" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21609"&gt;&lt;span class="ldml-cite"&gt;¶34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; acknowledge that there is some tension between &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21609"&gt;&lt;span class="ldml-cite"&gt;section 18-7-407 and subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21608" data-sentence-id="21709" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are duty-bound to interpret these statutory provisions harmoniously—that is, in a manner that gives consistent and sensible effect to all their parts and avoids rendering any words or phrases meaningless.&lt;/span&gt; &lt;span data-paragraph-id="21608" data-sentence-id="21921" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886628317" data-vids="886628317" class="ldml-reference" data-prop-ids="sentence_21709"&gt;&lt;span class="ldml-refname"&gt;Mook&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21709"&gt;&lt;span class="ldml-cite"&gt;¶ 24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886628317" data-vids="886628317" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;457 P.3d at 574&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21608" data-sentence-id="21950" class="ldml-sentence"&gt;For that reason, like &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; and the division, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that, while &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21950"&gt;&lt;span class="ldml-cite"&gt;section 18-7-407&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; precludes &lt;span class="ldml-entity"&gt;a defendant&lt;/span&gt; from raising a defense based on either his lack of knowledge of the child's age or his reasonable belief that the child was an adult, it does not relieve &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; of their obligation under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21950"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to prove that, in soliciting or arranging &lt;span class="ldml-parenthetical"&gt;(or offering to arrange)&lt;/span&gt; a meeting, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s purpose was prostitution of or by a child.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="22420" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="22420" data-sentence-id="22421" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22421"&gt;&lt;span class="ldml-cite"&gt;¶35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are not persuaded otherwise by &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s argument that this reading of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22421"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt; and section 18-7-407&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; will lead to unconstitutional results.&lt;/span&gt; &lt;span data-paragraph-id="22420" data-sentence-id="22595" class="ldml-sentence"&gt;The &lt;span class="ldml-quotation quote"&gt;"doctrine of constitutional avoidance"&lt;/span&gt; on which &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; rely applies only when &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; interpret &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt; that are ambiguous.&lt;a href="#note-fr6" class="ldml-noteanchor" id="note-ref-fr6"&gt;6&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="22420" data-sentence-id="22727" class="ldml-sentence"&gt;Here, while &lt;span class="ldml-entity"&gt;we&lt;/span&gt; believe there is some tension between &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22727"&gt;&lt;span class="ldml-cite"&gt;section 18-7-407 and subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; discern no ambiguity in their provisions.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="III. Conclusion" data-id="heading_22870" data-parsed="true" data-value="III. Conclusion" data-confidences="very_high" data-ordinal_end="3" data-specifier="III" data-ordinal_start="3" data-types="conclusion" data-format="upper_case_roman_numeral" id="heading_22870"&gt;&lt;span data-paragraph-id="22870" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="22870" data-sentence-id="22870" class="ldml-sentence"&gt;III.&lt;/span&gt; &lt;span data-paragraph-id="22870" data-sentence-id="22875" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="22885" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="22885" data-sentence-id="22885" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22885"&gt;&lt;span class="ldml-cite"&gt;¶36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that the requisite culpable mental state in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22885"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;—whether with intent, as the division determined, or knowingly, as &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; urge—applies to all the elements &lt;span class="ldml-parenthetical"&gt;(and every part of each element)&lt;/span&gt; in those subsections.&lt;/span&gt; &lt;span data-paragraph-id="22885" data-sentence-id="23134" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; further conclude that &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23134"&gt;&lt;span class="ldml-cite"&gt;section 18-7-407&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; does not relieve &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; of their obligation under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23134"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to prove that, in soliciting another or arranging &lt;span class="ldml-parenthetical"&gt;(or offering to arrange)&lt;/span&gt; a meeting, &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;'s purpose was prostitution of or by a child.&lt;/span&gt; &lt;span data-paragraph-id="22885" data-sentence-id="23399" class="ldml-sentence"&gt;Because the division correctly approved &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s ruling&lt;/span&gt; under challenge, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm.&lt;/span&gt; &lt;span data-paragraph-id="22885" data-sentence-id="23492" class="ldml-sentence"&gt;However, because the division's reasoning differs at least in part from ours, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do so on other grounds.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="23596" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="23596" data-sentence-id="23596" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;MARQUEZ&lt;/span&gt;&lt;/span&gt; does not participate.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="23633" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr1" class="ldml-notemarker" id="note-fr1"&gt;1&lt;/a&gt; &lt;span data-paragraph-id="23633" data-sentence-id="23634" class="ldml-sentence"&gt;In the interest of brevity, throughout the rest of this opinion, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; refer to &lt;span class="ldml-quotation quote"&gt;"with intent"&lt;/span&gt; rather than to intentionally or with intent, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; refer to &lt;span class="ldml-quotation quote"&gt;"knowingly"&lt;/span&gt; rather than to knowingly or willfully.&lt;/span&gt; &lt;span data-paragraph-id="23633" data-sentence-id="23837" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23634"&gt;&lt;span class="ldml-cite"&gt;§ 18-1-501&lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; -&lt;span class="ldml-parenthetical"&gt;(6)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="23875" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr2" class="ldml-notemarker" id="note-fr2"&gt;2&lt;/a&gt; &lt;span data-paragraph-id="23875" data-sentence-id="23876" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; express no opinion on the soundness of the division's conclusion that the phrase &lt;span class="ldml-quotation quote"&gt;"for the purpose of"&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23876"&gt;&lt;span class="ldml-cite"&gt;subsections &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; describes the culpable mental state of with intent.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="24059" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr3" class="ldml-notemarker" id="note-fr3"&gt;3&lt;/a&gt; &lt;span data-paragraph-id="24059" data-sentence-id="24060" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The trial court&lt;/span&gt; instructed the jury on the lesser included offenses at Ross's request and over &lt;span class="ldml-entity"&gt;the People&lt;/span&gt;'s objection.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="24178" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr4" class="ldml-notemarker" id="note-fr4"&gt;4&lt;/a&gt; &lt;span data-paragraph-id="24178" data-sentence-id="24179" class="ldml-sentence"&gt;With respect to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24179"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; instructed the jury that the elements of the offense were that: &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the defendant&lt;/span&gt;; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; in the &lt;span class="ldml-entity"&gt;State of Colorado&lt;/span&gt;, on or about the date charged; &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; knowingly; &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; solicited another; &lt;span class="ldml-parenthetical"&gt;(5)&lt;/span&gt; for the purpose of prostitution of a child or by a child.&lt;/span&gt; &lt;span data-paragraph-id="24178" data-sentence-id="24470" class="ldml-sentence"&gt;With respect to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24470"&gt;&lt;span class="ldml-cite"&gt;subsection &lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; instructed the jury along the same lines, except that element &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; stated that &lt;span class="ldml-entity"&gt;the People&lt;/span&gt; were required to prove that Ross arranged or offered to arrange a meeting of persons.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="24692" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr5" class="ldml-notemarker" id="note-fr5"&gt;5&lt;/a&gt; &lt;span data-paragraph-id="24692" data-sentence-id="24693" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The People&lt;/span&gt;'s petition raised two issues:&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;blockquote data-paragraph-id="b_24733" class="ldml-blockquote"&gt;&lt;span data-sentence-id="24733" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-sentence-id="24736" class="ldml-sentence"&gt;Whether &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; erred when it held that the crime of soliciting for child prostitution under &lt;span class="ldml-entity"&gt;section&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;18-7-402&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2019&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, requires proof of specific intent.&lt;/span&gt;&lt;/blockquote&gt;&lt;blockquote data-paragraph-id="b_24912" class="ldml-blockquote"&gt;&lt;span data-sentence-id="24912" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-sentence-id="24915" class="ldml-sentence"&gt;Whether the requisite mental state for soliciting for child prostitution under &lt;span class="ldml-entity"&gt;section&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;18-7-402&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2019&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, applies to all elements of the crime.&lt;/span&gt;&lt;/blockquote&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="25067" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr6" class="ldml-notemarker" id="note-fr6"&gt;6&lt;/a&gt; &lt;span data-paragraph-id="25067" data-sentence-id="25068" class="ldml-sentence"&gt;There are at least two different canons of construction that are sometimes given the &lt;span class="ldml-quotation quote"&gt;"constitutional avoidance"&lt;/span&gt; label: one, perhaps better termed the &lt;span class="ldml-quotation quote"&gt;"presumption of constitutionality,"&lt;/span&gt; directs &lt;span class="ldml-entity"&gt;courts&lt;/span&gt;, where possible, to &lt;span class="ldml-quotation quote"&gt;"interpret &lt;i class="ldml-italics"&gt;ambiguous &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt;&lt;/i&gt; to avoid rendering them unconstitutional"&lt;/span&gt;; the other, the &lt;span class="ldml-quotation quote"&gt;"constitutional doubt canon,"&lt;/span&gt; which is the more modern and more debated canon, suggests that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;courts&lt;/span&gt; should construe &lt;i class="ldml-italics"&gt;ambiguous &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt;&lt;/i&gt; to avoid the need even to address serious questions about their constitutionality."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="25067" data-sentence-id="25597" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/892304173" data-vids="892304173" class="ldml-reference" data-prop-ids="sentence_25068"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;United States v. Davis&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-cite"&gt;––– U.S. ––––&lt;/span&gt;, &lt;span class="ldml-cite"&gt;139 S. Ct. 2319, 2332 n.6&lt;/span&gt;, &lt;span class="ldml-cite"&gt;204 L.Ed.2d 757&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2019&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphases added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;